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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

   UNITED STATES OF AMERICA
                                                         Case No. 5:18-CR-00030-01
   v.
                                                         Chief Judge Hicks
   DAVID D. DEBERARDINIS
                                                         Magistrate Judge Hornsby
          Defendant.




   REPLY TO GOVERNMENT’S NON-RESPONSE TO MOTION TO SUPPRESS ITEMS
                SEIZED FROM MR. DEBERARDINIS’S HOME

         NOW INTO COURT, through undersigned counsel, comes the defendant, David D.

  deBerardinis, who respectfully submits this Reply to the Government’s Failure to Answer to his

  Motion to Suppress Items Seized from His Home.

         The Government has had over five-hundred and twenty (520) days to respond to Mr.

  deBerardinis’s Motion to Suppress Items Seized from Mr. deBerardinis's Home. See Rec. Doc. 51-

  1, filed on February 1, 2019. Yet, no response has ever come. The Government has been given

  more than ample time and opportunity by the Court to be heard on this motion but it has chosen to

  be silent. Therefore, the Government has waived all arguments and objections that it may have and

  the Motion to Suppress Items Seized from Mr. deBerardinis’s Home should be granted.

                                PROCEDURAL BACKGROUND

         On July 31st, 2018, the Court set a briefing deadline of January 18, 2019 for any dispositive

  pretrial briefs to be filed by the Defendant and a deadline of February 15, 2019 for the Government

  to respond. On January 16, 2019, the undersigned filed a joint motion with the Government to


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  extend the dispositive pretrial motions and responses deadlines by two weeks, which was granted

  by the Court. See Rec. Doc. 43, 54 and 55.

         On February 1st, 2019, the Defense filed six different pretrial motions pursuant to the

  Court’s briefing deadline, which consisted of the following: 1) a Motion to Dismiss Counts 7 and

  8-11 of Superseding Indictment; 2) a Motion to Strike Surplusage from the Superseding

  Indictment; 3) a Motion for Leave to File Motion for Bill of Particulars; 4) a Motion to Suppress

  Hard Drive Seized from Eric Triche; 5) a Motion to Suppress Items Seized from Mr. deBerardinis's

  Home; and 6) a Motion to Suppress Items Illegally Seized from Google.com. See Rec. Docs. 47-

  52.

         On March 8, 2019, the Government filed the following five responses: 1) Response in

  Opposition by USA as to David D deBerardinis re 47 MOTION to Dismiss Counts 7 and 8-11 of

  Superseding Indictment; 2) Response in Opposition by USA as to David D deBerardinis re 48

  MOTION to Strike Surplusage from the Superseding Indictment; 3) Response in Opposition by

  USA as to David D deBerardinis re 49 MOTION for Leave to File Motion for Bill of Particulars;

  4) Response to Motion by USA as to David D deBerardinis re 52 MOTION to Suppress Items

  Illegally Seized from Google.com; and 5) Response in Opposition by USA as to David D

  deBerardinis re 50 MOTION to Suppress Hard Drive Seized from Eric Triche. See Rec. Docs. 61-

  65.

         Without explanation, the Government has failed to respond to Mr. deBerardinis’s main

  suppression motion regarding the items illegally seized from his home (Rec. Doc. 51). The

  Government was ordered by the Court to respond this motion back in March of 2019. Though the

  Government responded to the other pretrial motions, it has not responded to the instant motion.




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          At the conclusion of the competency hearings in December 2019, and after the government

  had agreed to the scheduling order, the Government filed a Motion to Expedite the Ruling and

  Briefing Schedule (R. doc 105). In the response filed by deBerardinis the Defense noted that while

  the Government was in a gallop to hear the motions and set the case for trial, they had not yet filed

  an answer to the Motion to Suppress. Rec. Doc. 106, David deBerardinis Response to United States

  Motion for Revised Scheduling Order, page 4. There could be no mistaking of the allegation by

  the Defense that the motion had not yet been answered because the following was stated:

          Notably, the Government did not respond to Mr. deBerardinis’s main suppression motion
          regarding the items illegally seized from his home (Rec. Doc. 51). The Government’s lack
          of response to this motion could be considered a waiver of its opportunity to respond to
          deBerardinis’ motion to suppress all items illegally seized from his house and therefore
          be granted. But for the government to cry “let’s hurry up” when they have not responded
          to defense motions filed 11 months ago, is inconsistent, at best.

          The Government never responded to the Defense reply, which was filed on January 6,

  2020.

          The Defense requested a status conference by letter dated May 13, 2020. One issue was

  the failure of the Government to file an answer or opposition to the Motion to Suppress Items

  Seized from deBerardinis’ Home. The letter is under seal, but paragraph four of the letter

  addresses the issue. We have not attached it as an exhibit as it contains matters pertaining to

  McCoy/Faretta issues, but a copy can be provided if needed by the Court or Government.

          The Court held a telephone status conference on May 14th, 2020. At that time, the Defense

  noted the Government had still not yet filed a response to the Motion to Suppress as was addressed

  in counsel’s letter to the Court requesting the status conference.

          During the status conference on May 14th when the failure to answer the Motion to

  Suppress was pointed out, Assistant United States Attorney Jernigan said she would file it by the



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  following Monday. Your undersigned thought that was ambitious and said if she needed

  additional time, she could have it without objection. The Court also offered additional time. The

  Assistant United States Attorney declared it would be filed on Monday, May 18 th. It was not.

  Now, we suggest, it is too late – the hay is in the barn.

                                      LAW AND ARGUMENT

         “Unlike a defendant’s reply, the government’s response to a defendant’s motion to suppress

  is not optional.” U.S. v. Ocana, 10-CR-127, 2010 WL 4642367, at *1 (E.D. Wis. Oct. 19, 2010),

  report and recommendation adopted, 10-CR-127, 2010 WL 4642356 (E.D. Wis. Nov. 9, 2010).

  That’s because the Government is guaranteed the opportunity to object to pretrial motions pursuant

  to the Court’s scheduling order and Rule 12(c). But when the Government fails to timely object, it

  constitutes a waiver of the Government’s opportunity to be heard on a pretrial motion like a motion

  to suppress. See Fed.R.Crim.P. 12(c)(3) with 2014 Amendments to Fed.R.Crim.P. 12(e); see also

  U.S. v. Freeman 2010 WL 1957303 *3 (E.D.Tenn.) (“Pursuant to Fed.R.Crim.P. 12(e), this failure

  constitutes a waiver of objection to Defendant's Motion to Suppress.”); United States v. Madrid,

  916 F.Supp.2d 730, 736 (W.D. Tex. 2012) (finding that the government waived its opposition by

  failing to respond to an argument about a motion to suppress a wiretap). A court may, but is not

  required, to consider an untimely opposition if the untimely party can show good cause for its

  failure. See Fed.R.Crim.P. 12(c)(3).

         Here, however, there is no good cause for the Government’s year and a half failure. The

  Government has not only been given an extraordinary amount of time to object to this motion to

  suppress, but it has been reminded by the Defense and ordered by the Court to do so on several

  occasions. Further, the Government has not asked for an extension of time to oppose this motion.

  It has simply let court-mandated deadline after court-mandated deadline pass without providing



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  any cause whatsoever for doing so. Thus, the logical consequence of the Government’s silence is

  a waiver its right to respond.

                                               CONCLUSION

         In these circumstances, the only available and fair thing for the Court is to rule the

  Government has no objection or has waived its right to object and the motion should be granted

  without further ado.



                                                        /s/ James E. Boren
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                                                        Attorney for David D. deBerardinis


                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 2, 2020, I electronically filed the foregoing with the Clerk of
  Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel of
  record.

                                                        /s/ James E. Boren
                                                        JAMES E. BOREN (LA # 03252)




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